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FILED BY ~W D.C.

IN THE UNITED STATES DISTRICT COURT 05 AUG 30 PH l¢: |[]
FOR TI-IE WESTERN DISTRICT OF TENNESSEE

 

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WESTERN DIvISION mm U_S' USW mm
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UNITED STATES OF AMERICA,
Plaintiff, Case No.: 02-20448 D
V.
WILLIEANN MADISON and
JOHN E. MADISON,

Defendants.

 

OR_DER DENYING PETITION FOR FEES

 

Before the Court is the petition of Tony L. Axam for attorney’s fees. Mr. Axam seeks
$150,000.00 in attorney’s fees and costs owed nom representation of Defendants from assets in
which the Government assert a lienhold interest The Governrnent filed a response in opposition to
the motion averring that the court’s February 7, 2005 Order of Forfeiture divested the Madisons of
interest in the subject assets and vested interest in the United States.

Upon review of the motion, response, and the case record as a whole, the Court finds that:

1. Pursuant to 21 U.S.C. § 853(n)(6), Mr. Axam has not met the standards to assert a

third party claim as to the subject assets;

2. The Madisons’ right to interest in the assets is subordinate to the rights or interest of

the United States; and

3. The Madisons may not satisfy their legal obligations from assets/ funds belonging to

the Government.

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Accordingly, the motion/petition for attorney’s fees is DENIED.

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ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 470 in
case 2:02-CR-20448 vvas distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

